        United States Court of Appeals
             for the Fifth Circuit
                             ___________

                              No. 20-20237
                             ___________

Vitol, Incorporated,

                                                      Plaintiff—Appellant,

                                  versus

United States of America,

                                         Defendant—Appellee.
               ______________________________

              Appeal from the United States District Court
                  for the Southern District of Texas
                       USDC No. 4:18-CV-2275
              ______________________________

          ON PETITION FOR REHEARING EN BANC

Before King, Elrod, and Willett, Circuit Judges.
Per Curiam:
      Treating the petition for rehearing en banc as a petition for panel
rehearing (5th Cir. R. 35 I.O.P.), the petition for panel rehearing is
DENIED. The petition for rehearing en banc is DENIED because, at the
request of one of its members, the court was polled and a majority did not
vote in favor of rehearing (Fed. R. App. P. 35 and 5th Cir. R. 35).
      In the en banc poll, six judges voted in favor of rehearing (Judges
Jones, Smith, Elrod, Ho, Engelhardt, and Oldham), and eleven voted against
                              No. 20-20237




rehearing (Chief Judge Richman and Judges Stewart, Dennis, Southwick,
Haynes, Graves, Higginson, Costa, Willett, Duncan, and Wilson).




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